
By the Court.—Ingbaham, J.
The decision of the general term of this court in the Abendroth Case, 54 Super. CL 420, is binding upon this court, and determines adversely to the defendants the question as to the right • of the plaintiff to maintain this action and to the. relief granted by the judgment, for it is there stated by Truax, J., that it was immaterial for the purposes of that case whether the plaintiff had or had not any interest in the fee of Pearl street in front of and adjacent to his premises, and in that opinion the chief judge concurred.
The other objections taken by counsel for the defendants have been examined, but we do not think that any error was committed that requires a reversal of the judgment.
The judgment appealed from is, therefore, affirmed with costs.
Sedgwick, Ch. J., concurred.
